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                                                                                      FILED
                                                                                     JUL 0 2 2021
                                    UNITED STATES DISTRICT COURT
                                                                             CLERKDSTU.S.
                                  FOR THE WESTERN DISTRICT OF TEXAS          WESTER         IC1   COURT
                                           AUSTIN DIVISION
                                                                                                  DEPUTy
          JULIA TEAGUE,                                  §
          Plaintiff,                                     §
                                                         §
          V.                                             §   CIVIL ACTION NO. 1 :19-cv-940-JN
                                                         §
          OMNI  HOTELS            MANAGEMENT             §
          CORPORATION,                                   §
                                                         §
          Defendant.                                     §




                                                VERDICT


        Question No.     1


        Has Plaintiff Teague proved that her pregnancy
        decisions to terminate her employment.

                   Answer "Yes" or "No."


                   AJE




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        Onestion No. 2

        If you answered "Yes" to Question 1, then answer Question 2.

        Has Omni proved that it would have made the same decision to terminate Plaintiffs employment,
        even without consideration of Plaintiffs pregnancy?

                   Answer "Yes" or "No":




                                                       2

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         Question No.3

         Has Plaintiff Julia Teague proved that her pregnancy was a motivating factor in Omni's decision
         not to hire her for the Director of Marketing position in November 2018?

                   Mswer "Yes" or "No":




                                                        3

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        Question No. 4

        If you answered "Yes" to Question 3, then answer Question 4.
        Has Omni proved that it would have made the same decision not to hire Plaintiff for the Director
        of Marketing position in 2018, even without consideration of Plaintiff's pregnancy?

                   Answer "Yes" or "No":



        Regardless of how you answered Questions No.        1   4, go to Question 5.




                                                        4

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        Question No. 5

        Has Plaintiff Teague proved that Defendant Omni would not have terminated her in the absence
        ofin  other words, but   for her FMLA-protected activity?

                   Answer "Yes" or "No."




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         Ouestion No. 6

         Has Plaintiff Teague proved that Defendant Omni would have hired her for the Director of
                                                          ofin
         Marketing position in November 2018 in the absence     other words, but forher FMLA-
         protected activity?

                   Answer "Yes" or "No":




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         Question No. 7

         Has Plaintiff Teague proved that Defendant Omni failed or refused to restore Plaintiff to her same
         or equivalent job position upon her return from FMLA leave?

                   Answer "Yes" or "No."


                     Yec




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         Ouestion No. 8

         Has Defendant 0mm proved that Plaintiff Teague's same job, or an equivalent one, would have
         no longer been available to her because of reasons unrelated to her FMLA leave?

                   Answer "Yes" or "No."

                        AJo




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        Question No. 9

        Did Plaintiff Teague engage in any conduct that would constitute misconduct for which Omni
        would have legitimately refused to hire Plaintiff for the new Director of Marketing position in
        2018?

                   Answer "Yes" or "No"




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         Only answer the question below if you have found that Omni discriminated against Plaintiff based
         on pregnancy in Questions No. 1 or 3, or that Omni violated the FMLA in Question No. 5, 6, or 7.
         Otherwise, do not answer Question No. 10.

         Question No. 10

         If you answered "Yes" to Questions No.   9 above, then in your answer below, do not include any
         amount of money past the date Omni would have not hired Plaintiff for engaging in the misconduct
         you found in answer to Question No. 9.

         What sum of money, if paid now in cash, would fairly and reasonably compensate Plaintiff Teague
         for the damages, if any, you have found Defendant Omni caused Plaintiff Teague?

         Answer in dollar and cents, if any.

         Backpay,ifany,fromMay 1,20l8toDecember3l,2018:             $




                                                        10

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         Only answer the question below if you have found that Omni discriminated against Plaintiff based
         on pregnancy in Questions No. 1 or 3. Otherwise, do not answer this question.

         Question No. 11
         What sum of money, if paid now in cash, would fairly and reasonably compensate Plaintiff for
         compensatory damages, if any, you have found Omni caused Plaintiff?

                   Answer in dollars and cents, if any.

                   1.   Emotional pain and suffering, inconvenience, mental anguish, or loss
                        of enjoyment of life.

                          $




                                                            RIGINAL SIGNATURE
                                                           EDACTED. PURSUANT TO
                                                          .GOVERNMENT ACT OF 2002
                                                 JURY     OBSOW




                                                          11

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